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 4 valerie@yanaroslaw.com

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 7
 8                                 UNITED STATES DISTRICT COURT

 9                                FOR THE DISTRICT OF CALIFORNIA

10
11 Dustin Neff, an individual,                        ) Case No.: 3:23-cv-02518-JD
                                                      )
12                               Plaintiff,           ) SECOND STIPULATION OF TIME TO
                                                      ) RESPOND TO COMPLAINT
13         vs.                                        )
                                                      )
14                                                    ) Complaint Filed: May 24, 2023
   SBA Entertainment, LLC, a Colorado                 )
15 limited liability company; Goode                   )
   Enterprise Solutions Inc., a Colorado              )
16 corporation; and Does 1-10, inclusive,             )
                                                      )
17                                                    )
                                                      )
18                           Defendants.              )
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                                 THIRD STIPULATION FOR EXTENSION OF TIME
           Case 3:23-cv-02518-JD Document 21 Filed 10/05/23 Page 2 of 4




 1          IT IS HEREBY STIPULATED by and between Plaintiff, Dustin Neff (“Plaintiff”), and
 2 Defendant, Goode Enterprise Solutions Inc. (“GES”), by and through their respective counsel, that
 3 pursuant to Federal Rule of Civil Procedure 6(a), and Local Rule 6-1, GES may have to and
 4 including November 2, 2023, to file a responsive pleading in this matter, as the parties are engaging

 5 in settlement negotiations and wish to avoid the cost and expense of filing a responsive pleading.
 6 GES’ counsel is also in the process of applying to appear Pro Hac Vice and acquire local counsel in
 7 this matter. This does not alter the date of any event, or any deadline already scheduled by the
 8 Court, and this is the fourth extension provided by Plaintiff.
 9
10 Date: October 2nd, 2023.                               Respectfully submitted,
                                                         /s Valerie A. Yanaros, Esq.
11                                                       Valerie Yanaros, Esq.
                                                         Texas Bar No. 24075628
12                                                       Applying to Appear Pro Hac Vice in
                                                         the Northern District Court of
13                                                       California
                                                         Yanaros Law, P.C.
14                                                       8300 Douglas Avenue Suite 800
                                                         Dallas, Texas 75225
15                                                       Telephone: (512) 826-7553
                                                         valerie@yanaroslaw.com
16
                                                         ATTORNEY FOR DEFENDANT GES
17
                                                    /s Frank R. Trechsel, Esq./__________________
18                                                       Scott Alan Burroughs, Esq.
                                                         Frank R. Trechsel, Esq.
19                                                       DONIGER/BURROUGHS
20                                                       ATTORNEYS FOR PLAINTIFF
21
                                               ATTESTATION
22
23 Concurrence in the filing of this document has been obtained from each of the individual(s) whose
24 electronic signature is attributed above.
25                                                By_ /s/ Valerie Yanaros__________
                                                  Valerie Yanaros
26                                                Attorney for Defendant,
27                                                Goode Enterprise Solutions, Inc.

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                                THIRD STIPULATION FOR EXTENSION OF TIME
          Case 3:23-cv-02518-JD Document 21 Filed 10/05/23 Page 3 of 4




 1         IT IS SO ORDERED, Defendant, GES, shall have up to and including

 2 November 2, 2023, to file a responsive pleading.

 3
            10/5/2023
     DATE: _________________                              ___________________________
 4
                                                         United States District Court Judge
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                              THIRD STIPULATION FOR EXTENSION OF TIME
           Case 3:23-cv-02518-JD Document 21 Filed 10/05/23 Page 4 of 4




 1
                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on October 2nd, 2023, the foregoing document was filed with the clerk
 3
     of the court for the U.S. District Court, Northern District of California, using the electronic case
 4
     filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to
 5
     all attorneys of record who have consented in writing to accept this Notice as service of documents
 6
     by electronic means, including:
 7
 8 Scott Alan Burroughs (SBN 235718)
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11
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12 Telephone: (310) 590-1820
   Attorneys for Plaintiff
13
14                                                        /s/ Valerie Yanaros, Esq.
15                                                       VALERIE YANAROS, ESQ.

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                                THIRD STIPULATION FOR EXTENSION OF TIME
